     Case 3:24-cv-00526-ART-CSD          Document 64       Filed 03/19/25    Page 1 of 19



 1   LINDSAY L. LIDDELL
     Deputy District Attorney
 2   Nevada State Bar Number 14079
     ANDREW COBI BURNETT
 3   Deputy District Attorney
     Nevada State Bar Number 16505
 4   One South Sierra Street
     Reno, NV 89501
 5   lliddell@da.washoecounty.gov
     cburnett@da.washoecounty.gov
 6   (775) 337-5700

 7   ATTORNEYS FOR WASHOE COUNTY
     DEFENDANTS
 8

 9                              UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11                                               ***
12   DREW RIBAR,
13                 Plaintiff,                           Case No. 3:24-CV-00526-ART-CSD
14          vs.
                                                        MOTION FOR PROTECTIVE ORDER
15   WASHOE COUNTY, NEVADA;                             RESTRICTING PUBLICATION OF
     WASHOE COUNTY LIBRARY                              DISCOVERY
16   SYSTEM; BUILD OUR CENTER, INC.;
     JEFF SCOTT; STACY MCKENZIE;
17   JONNICA BOWEN; LIBRARY
     EMPLOYEE DOE #1; JENNIFER COLE;
18   DEPUTY C. ROTHKIN (BADGE #5696);
     DEPUTY R. SAPIDA (BADGE #4663;
19   SGT. GEORGE GOMEZ (BADGE
     #4066); AND JOHN/JANE DOES 1+10,
20
                   Defendants.
21                                                /
22          Washoe County, Washoe County Library System, Jeff Scott, Stacy McKenzie,

23   Jonnica Bowen, Jennifer Cole, Deputy Rothkin, Deputy Sapida, and Sgt. Gomez (“Washoe

24   County Defendants”) through counsel, Lindsay L. Liddell, Deputy District Attorney, hereby

25   file their Motion for Protective Order Restricting Publication of Discovery Materials. This

26   //




                                                  -1-
     Case 3:24-cv-00526-ART-CSD             Document 64        Filed 03/19/25       Page 2 of 19



 1   Motion is based on FRCP 26(c), the pleadings and papers on file, and the following

 2   Memorandum of Points and Authorities.

 3                      MEMORANDUM OF POINTS AND AUTHORITIES

 4       I.      INTRODUCTION

 5            Plaintiff Drew Ribar is a pro se YouTuber who brought this case against several

 6   Washoe County Library employees and law enforcement officers after he was suspended

 7   from the library for one year. See (ECF No. 1). Mr. Ribar’s YouTube channel features an

 8   abundance of edited videos regarding the County Defendants, the library, and this case. Mr.

 9   Ribar recently requested to hold video depositions of Defendant Scott, Defendant Bowen,

10   and Defendant McKenzie, who are already conspicuously featured throughout his YouTube

11   channel.

12            Good cause exists for a protective order indefinitely preventing Mr. Ribar from

13   disseminating any compelled discovery for any purpose other than to litigate this case.1 Mr.

14   Ribar directly expressed his intent to publish deposition video on YouTube, and to try this

15   case in the “court of public opinion.” See Exs. 3–4. His YouTube videos are edited, contain

16   misleading and antagonistic captions, and occasionally invite viewers to engage in

17   unsolicited contact with Washoe County employees. As a result of Mr. Ribar’s social media

18   activity, County Defendants have already experienced substantial harassment, humiliation,

19   and oppression, including receiving repugnant messages from his viewers. Discovery should

20   not be used as a tool to vex opposing parties, and a protective order is necessary to address

21   the unique circumstances of this case.

22            Additionally, this Court should issue an order prohibiting the recording of any contact

23   between Mr. Ribar and counsel for Defendants. Such an order is necessary to protect counsel

24

25   1
       Due to the unique circumstance presented, the Court’s general “motion regarding discovery
     dispute” format is ill-fitting and not clearly applicable. See (ECF No. 28). However, if the Court is
26   inclined to deny the Motion based on format, County Defendants respectfully request leave to
     reformat and refile the instant Motion.



                                                      -2-
     Case 3:24-cv-00526-ART-CSD           Document 64       Filed 03/19/25     Page 3 of 19



 1   from exposure to harassment arising out of Mr. Ribar’s social media posts, and more

 2   importantly, to facilitate informal resolution of issues between the parties.

 3       II.      MEET AND CONFER

 4             Undersigned counsel attempted to meet-and-confer in good faith with Mr. Ribar on

 5   March 11, 2025. See Ex. 1 at ¶2; Ex. 2; Ex. 3; Ex. 4. Undersigned counsel requested a

 6   telephonic meet and confer on the instant issue, providing Mr. Ribar with background on

 7   the need for a protective order, the applicable rule, and providing him copies of the harassing

 8   emails attached hereto as Exhibit 5. Ex. 1 at ¶2; Ex. 2 at pp. 2−3. Undersigned counsel and
 9   Mr. Ribar briefly spoke telephonically on March 11, 2025. Ex. 1 at ¶¶2−3; Ex. 2 at p. 1. Mr.
10   Ribar would not telephonically confer unless he could record the conversation, and

11   undersigned counsel did not consent to recording. 2 Id. Mr. Ribar’s position on recording the

12   conversation suggests an unwillingness to resolve issues in good faith, and suggests that

13   generating content regarding this case for his YouTube channel is a priority.

14             Recording is inappropriate as it would likely be published on Mr. Ribar’s social

15   media, would amount to or incite harassment, would chill participation in frank discussion

16   of the issues, and is an otherwise inappropriate unilateral condition on discovery that is

17   neither supported by the Rules nor by law. See Nissan Motor Co. v. Nissan Computer Corp., 180

18   F.Supp. 2d 1089, 1096−97 (C.D. Cal. 2002) (“Threatening to record conversations between
19   counsel (or actual recordation of such conversations) is a troubling tactic.”); Ewing v. Aliera

20   Healthcare, No. 19CV845-CAB-LL, 2019 WL 3778746, at *3 (S.D. Cal. Aug. 12, 2019)

21   (ordering pro se Plaintiff to “cease recording of conversations between Plaintiff and defense

22   counsel…”); Stebbins v. Google LLC, No. 23-cv-00322-TLT, 2023 WL 6139454, at *3 (N.D.

23   Cal. Aug. 31, 2023) (noting that recording impedes relations and exerts a chilling effect

24   between the parties, and finding that pro se Plaintiff’s recording and YouTube posting of a

25

26   2
       Nevada law prohibits recording telephonic communications without consent. NRS 179.430; Lane
     v. Allstate Ins. Co., 114 Nev. 1176, 1178–79, 969 P.2d 938, 939–40 (1998).



                                                   -3-
     Case 3:24-cv-00526-ART-CSD            Document 64       Filed 03/19/25     Page 4 of 19



 1   meet and confer was “highly irregular and inappropriate,” “indicative of bad faith,” and

 2   “also appropriate for sanctions.”).

 3           Nonetheless, the parties communicated their positions on the instant motion via

 4   email and were unable to reach an agreement. Exs. 2–4. Going forward, this Court should

 5   issue an order prohibiting Mr. Ribar from recording or demanding to record communications

 6   with counsel so that the parties may work together to informally resolve issues as they arise.

 7        III.    LEGAL ANALYSIS

 8           A.     STANDARD FOR PROTECTIVE ORDER

 9           “[B]road discretion is vested in the trial court to permit or deny discovery.” Hallet v.

10   Morgan, 296 F.3d 732, 751 (9th Cir. 2002). Pretrial compelled discovery, including

11   depositions and interrogatories, “are not public components of a civil trial.” Seattle Times Co.

12   v. Rhinehart, 467 U.S. 20, 33 (1984). Under Rule 26, “[a] party or any person from whom

13   discovery is sought may more for a protective order[.]” FRCP 26(c)(1). Protective orders can

14   include, but are not limited to, forbidding discovery, specifying the terms of discovery, or

15   requiring that depositions be sealed. Id. For good cause, the court may “issue an order to

16   protect a party or person from annoyance, embarrassment, oppression, or undue burden or

17   expense[.]” Id.

18           The party seeking a protective order must show “a particular need for protected

19   supported by particular facts.” Liu v. City of Reno, case no. 3:22-cv-00551-CLB, 2023 WL

20   5304490, at *5 (D. Nev. Aud. 17, 2023). “Broad allegations of harm, unsubstantiated by

21   specific examples or articulated reasoning, are insufficient.” Id. “Courts are more likely to

22   prohibit the public dissemination of audiovisual recordings of depositions than written

23   transcripts because ‘videos can more easily be abused as they can be cut and spliced and used

24   as soundbites…” Katz v. Steyn, case no. 2:18-cv-00997-JAD-GWF, 2019 WL 13211070, at

25   *4 (D. Nev. Mar. 25, 2019) (citations omitted).

26   //




                                                    -4-
     Case 3:24-cv-00526-ART-CSD           Document 64       Filed 03/19/25     Page 5 of 19



 1          Regarding videotaped depositions, a “clear and specific threat that a party or person

 2   will use discovery materials in an abusive manner may also constitute good cause for a

 3   protective order.” Katz, 2019 WL 13211070, at *6. However, “the mere possibility that the

 4   online posting of a videotaped will be misused is insufficient grounds for the issuance of a

 5   protective order.” Liu, 2023 WL 5304490, at *6. “There is a stronger basis for the issuance

 6   of a protective order if a party or person seeks to use discovery materials for private

 7   commercial gain.” Katz, 2019 WL 13211070, at *5.

 8          The Northern District of California issued a protective order where defendants

 9   indicated that they “wish to use the videotaped depositions to make their case in the court of

10   public opinion about the exaggerated nature of the claims against them and the paucity of

11   the evidence so far amassed…” Serv. Emps. Int’l Union v. Rosselli, case no. C 09-00404- WHA

12   (MEJ), 2009 WL 2581320, at *1 (N.D. Cal. Aug. 20, 2009). Thus, there was “good cause to

13   limit the scope for which Defendants may use the videotapes.” Id. The Court’s protective

14   order prohibited the defendants from using deposition videos “for any purpose outside of

15   [that] lawsuit.” Id.

16          In Liu, the District of Nevada issued a protective order against a YouTuber, which

17   prohibited the parties from posting, sharing or otherwise disseminating materials produced

18   or exchanged in discovery including deposition video. 2023 WL 5304490, at *1, *6. The pro

19   se plaintiff was using the lawsuit “as content for his [YouTube] channel,” including

20   displaying videos of the defendants, discussing the lawsuit, and using documentation from

21   the lawsuit in a video. Id. at *6. The plaintiff stated he intended to post deposition video to

22   YouTube once the lawsuit was “finished.” Id. The Court also inferred that the plaintiff was

23   using the lawsuit to increase viewership and engagement on his channel to monetize it. Id.

24   The Court found that plaintiff’s use of body camera footage related to the lawsuit on his

25   YouTube channel was more than the necessary “clear and specific threat” and “crosses the

26   //




                                                   -5-
     Case 3:24-cv-00526-ART-CSD            Document 64       Filed 03/19/25     Page 6 of 19



 1   line into actual use of the materials in an abusive manner.” Id. (quotations and citations

 2   omitted).

 3            B.     MR. RIBAR’S ACTIONS HAVE AND CONTINUE TO PRESENT ACTUAL THREATS
                     OF  LITIGATION MISUSE, HARASSMENT, EMBARRASSMENT, AND
 4                   OPPRESSION, PROVIDING GOOD CAUSE FOR PROTECTION.
 5            Mr. Ribar is a “YouTuber” who operates a channel called “Auditing Reno 911” 3 with
 6   over 25,000 subscribers. See Ex. 6 at pp. 1–2. On his YouTube channel, he regularly posts
 7   videos that he has personally filmed of government employees as well as videos of himself
 8   discussing his various interactions with government employees. Id. at pp. 3−17, 21−27. His
 9   channel has numerous videos regarding the Washoe County Library, the County Defendants
10   in this case, and this case itself. Id. His channel’s opening page contains “Cash App” and
11   “Google Pay” links where viewers are invited to send money to Mr. Ribar. Id. pp. 1–2.
12   Additionally, some comments reflect viewer payments directly to Mr. Ribar’s account. Id. at
13   p. 18.As set forth in detail below, there is an actual threat of abuse of discovery material, and
14   actual threats of annoyance, embarrassment, and oppression warranting a protective order
15   in this case.
16              i.      Mr. Ribar’s YouTube Activity
17            Mr. Ribar’s YouTube channel hosts a large quantity of videos that Ribar has
18   personally filmed and edited. See Ex. 6 at pp. 3−17, 21−27. In many of his “First Amendment
19   Audit” videos, Ribar appears to antagonize government workers in attempts at evoking a
20   reaction. See id. He then edits these videos to provide after-the-fact commentary further
21   criticizing the workers’ reactions, adding captions to invite reaction and response from
22   viewers, and removes parts of the videos that would otherwise provide full context. Id.; see
23   also Ex. 9 at ¶8(describing Mr. Ribar filming his and his partner’s belligerent behavior toward
24   library staff, but not posting that footage to YouTube). Several videos on Mr. Ribar’s
25

26
     3
         https://www.youtube.com/@auditingreno911/featured



                                                    -6-
     Case 3:24-cv-00526-ART-CSD            Document 64        Filed 03/19/25     Page 7 of 19



 1   YouTube channel contain misleading or blatantly false click-bait titles. See id. at pp. 3−17.
 2   For example, in a video titled “Filming in Library? I Got Arrested!,” Mr. Ribar did not

 3   actually get arrested. Id. at p. 17. In another video where Mr. Ribar attempted to film the

 4   criminal court diversion program held at the library with a well-respected municipal court

 5   judge called “community court,” Mr. Ribar included bold colorful words over the video

 6   saying “CORRUPT JUDGE HAZLETT-STEVENS.” Id. at p. 5.

 7          Mr. Ribar posted numerous videos about the Washoe County Library, the defendants

 8   in this case, the facts of this case, and the ongoings of the instant litigation. See Ex. 6 at pp.

 9   3−17, 21−27. He posted a video on August 24, 2024, of Defendant Bowen titled “Lying
10   Crying Government Employee Caught,” where he personally identifies Defendant Bowen

11   and invites viewers to contact the County Manager. Id. at p. 3. In a video discussing drag

12   story hour, Mr. Ribar claims that librarians locked children in libraries “with transsexuals,”

13   presumably using a blatantly inaccurate and inflammatory word to describe drag queens. Id.

14   at p. 11. Mr. Ribar titled one video “Pompous Library Director Chastises Board of Trustees,”

15   and another video ““Is This Library Ageist? I’m Suing!” Id. at pp. 4, 12.

16          Mr. Ribar has posted multiple videos of the incidents alleged in the instant Complaint.

17   See Ex. 6 at pp. 3−15. Many videos contain inflammatory titles regarding Defendant Scott
18   including, “Library Director Assault: Justice Served?” “Accused Battery in Library: Jeff

19   Scott Exposed!,” “Sheriff, will Jeff Scott be investigated?” Each of these videos refer to the

20   same alleged, but strongly disputed, “assault” set forth in the Complaint. Id.; (ECF No. 1 at

21   pp. 3, 5).

22          Mr. Ribar posted footage of his library suspension appeal before the Library Board of

23   Trustees in August of 2024. See Ex. 6 at pp. 3, 8−10. In this case, he attempts to state claims
24   regarding the same suspension. (ECF No. 1 at pp. 3, 5, 7). One video features Defendant

25   McKenzie and Defendant Bowen discussing their interactions with Mr. Ribar, with Mr.

26   Ribar adding captions throughout the footage, including language such as “Truthful




                                                     -7-
     Case 3:24-cv-00526-ART-CSD           Document 64        Filed 03/19/25   Page 8 of 19



 1   librarian? Or Lying librarian??,” “Doubling down on lies…,” “POLICY above LAW and

 2   screw your Constitutional Rights!!,” “[as Defendant McKenzie presents] File an HR

 3   complaint with [] Ass.t County Mgr [email]@washoecounty.gov.” Ex. 6 at pp. 8−10.
 4            Mr. Ribar posted the November 2024 incident alleged in his Complaint in a video

 5   displaying bold colorful words, “LUNATIC LIBRARIANS & DEPUTIES.” Ex. 6 at pp.

 6   6−7; (ECF No. 1 at pp. 4, 6-7). Notably, in the video he explains to Defendant Cole that he
 7   understood he was banned from the library. But, as he states, he wanted Defendant Cole to

 8   “trespass” him so that he would “have more standing” for his federal lawsuit. 4 Ex. 6 at p. 7.

 9   In another edited video of the same interaction, Mr. Ribar included a description starting

10   with “I have been restricted from the Washoe County Libraries because I record their

11   naughty deeds…,” and included 911 audio of Defendant Cole. Id. at p.15. The videos

12   demonstrate that he provoked confrontation to both obtain content for his YouTube channel

13   and for the instant case.

14            Mr. Ribar also engages with viewers in video comments, which “help[s]” the

15   algorithm” of his YouTube channel. See Ex. 6 at p. 20. Mr. Ribar appears to facilitate “troll”

16   comments to help his channel grow. Id. In one comment, Mr. Ribar encourages the false and

17   salacious statement that “Washoe County [is] so invested in sexualizing children.” Id. at p.

18   18. In another, Mr. Ribar encourages viewers to repost his video because he was “[g]etting

19   privacy strikes from youtube complaints. Spread the word!!” Id. at p. 19. In others, he

20   condescendingly claims he makes Defendant Scott “uncomfortable” because he is a “straight

21   toxic white male,” and he provided a viewer with Defendant Scott’s telephone number and

22   email address. Id. Notably, in a video regarding this case, Mr. Ribar responded to a

23   YouTube viewer’s comment stating Mr. Ribar was “[l]ooking forward to recording

24   depositions…” Id. at p. 21 (emph. added).

25

26
     4
         https://youtu.be/6lJhKaT6OJk?feature=shared&t=901



                                                   -8-
     Case 3:24-cv-00526-ART-CSD            Document 64      Filed 03/19/25     Page 9 of 19



 1            Since filing the Complaint in this case, Mr. Ribar has created and uploaded several

 2   videos regarding the instant litigation. Ex. 6 at pp. 21−27. In a video titled “Library Gets
 3   Sued for Discrimination,” 5 he displays the Complaint filed in this case. Id. He also displays

 4   and discusses correspondence with DDA Michael Large regarding the Rule 26(f) conference

 5   and displays and discusses the County Defendants’ Answer. 6 Another video includes an

 6   edited caption stating “HOW MUCH $$$ WILL WASHOE COUNTY LIBRARY

 7   DIRECTOR SCOTT PAY FOR EXCLUDING PEOPLE??” Id. at p. 21. In a video titled,

 8   “5 Shocking Things I Learned Suing Government Employees,” Mr. Ribar displays and

 9   discusses the incident report regarding his June 2024 library suspension and future

10   amendments to his complaint in this case. Id. at pp. 22−23.
11            Mr. Ribar’s videos show viewers how he uses Chat GPT to litigate. Ex. 6 at pp. 26−27.
12   He specifically demonstrates how he used Chat GPT to draft his “Motion for Clarification

13   Regarding Communications,” (ECF No. 39) and his Opposition to Defendant Build Our

14   Center, Inc.’s Motion to Dismiss (ECF No. 43). Id. It is clear that the instant litigation is

15   being abused to create social media content, inviting publicity and commercial gain.

16             ii.      Reactive Harassment from Third Parties

17            Defendant Bowen and Defendant McKenzie experienced several unwanted

18   deplorable messages as a result of Mr. Ribar posting videos of them, including a video

19   containing their work email address. Ex. 5; Ex. 7 at ¶¶5−17; Ex. 8; Ex. 9 at ¶¶5–10, ¶18. One
20   message titled “ACTUAL free speech zone” states “…I do know you’re a tyrant. I’ve

21   donated to his 1983 lawsuit.” Ex. 5 at p. 12. Based on the subject matter and timing, this

22   appears to refer to Mr. Ribar’s contentions with “free speech” and his then threats to sue the

23   //

24

25
     5
         https://www.youtube.com/live/y0P6b_wBUdc?feature=shared&t=2141
26   6
         https://www.youtube.com/live/y0P6b_wBUdc?feature=shared&t=3003




                                                    -9-
     Case 3:24-cv-00526-ART-CSD             Document 64       Filed 03/19/25      Page 10 of 19



 1   library. Another video contained a link to a since-removed video on Ribar’s page, saying

 2   “Your country is Idiocracy come to reality…” Id. at p. 19.

 3          A person named “Russ Travis” both commented on Mr. Ribar’s YouTube video (Ex.

 4   6 at p. 20), and sent Defendant Bowen and Defendant McKenzie the following messages:

 5                •   “…[Defendant Bowen”], you lying fucking pervert…” Ex. 5 at p. 24 (emph.
                      added).
 6
                  •   “You and your bubblehead girlfriend should both be fired. You’re both
 7                    fucking ignorant perverts.” Ex. 5 at p. 25(emph. added).

 8                •   Subject line: “You grinning fucking clown” Ex. 8 at p. 1.

 9                •   Subject line: “You’ll pay cunt” Ex. 8 at p. 2 (emph. added).

10                •   Subject line: “You’re gonna pay bitch” Body: “You don’t get to allow
                      somebody to have their rights you dumb fucking whote.” Ex. 8 at p. 3 (emph.
11                    added).

12                •   Subject line: “Somebody should slap you in the fucking face you pig.” Ex. 8
                      at p. 4 (emph. added)
13
                  •   Subject line: “Stupid fuck.” Ex. 8 at p. 5.
14
                  •   Subject line: “Violent lying whore.” Ex. 8 at p. 6.
15
                  •   Subject line: “Fuck you cunt.” Ex. 8 at p. 7.
16                •   “…Watched you be a fat lying whore of an americlown on YouTube…” Ex.
                      8 at p. 8 (emph. added).
17
                  •   Subject line: “Bye bye whore.” Ex. 8 at p. 9.
18
                  •   Subject line: “We could fill five or 10 universes with the shit you don’t know
19                    you fucking ignorant Cunt.” Ex. 8 at p. 14.
20          Other messages Defendant Bowen or Defendant McKenzie received include the
21   following:
22                •   “…before you start lollygagging around and telling people they don’t have free
                      speech except for where you say they have free speech, you silly silly pervert
23                    [four middle finger emojis].” Ex. 5 p. 2 (emph. added).

24   //

25   //

26   //




                                                     -10-
     Case 3:24-cv-00526-ART-CSD        Document 64       Filed 03/19/25     Page 11 of 19



 1           •   “…you are a tyrant CUNT. It’s public property…We can criticize our
                 government employee whenever we want. You are a fucking KAREN. We
 2               will come and video you all we want you fucking NAZI BITCH.” Ex. at p.
                 3. “[discussing trespassing and constitutional rights] It is a shame that you are
 3               in the position that you hold. You should either educate yourself or resign
                 immediately!” Ex. at p. 4 (emph. added).
 4
             •   “…THE DISDAIN THIS WORTHLESS PUBLIC SERVANT HAS FOR
 5               THE PUBLIC IS DISGRACEFUL. Time for [Defendant Bowen] to go, the
                 People have spoken.” Ex. at p. 7.
 6
             •   “all your feelings mean nothing… you idiots at libraries are fkn nazis…you
 7               would think you idiots with books and info you would know the first
                 amendment. pound sand you mutt, grow up and learn the laws of this FREE
 8               country…” Ex. at p. 8 (emph. added).

 9           •   “How about you pull your head out of your ass before you get the living shit
                 beat out of you. You trespassed a person for reasons hat fit your style. You do
10               the same to me and my group, and you’ll be held to the whipping post and
                 punished accordingly. Resign ASAP you rotten lier [sic]. Or face public
11               prosecution. You are a horrible person and you should leave our community.”
                 Ex. at p. 9 (emph. added).
12
             •   “I can see you are a disgrace to America…grooming pedos.. not sure about
                 you being a pervert but democrats, trantifa, and this drag story time shit flys
13               hand and hand… STOP GRPOOMING [sic] KIDS YOU SICK FUCK.”
                 Ex. at p. 15 (emph. added).
14
             •   “[discussing public space]…Your actions were reprehensible and I will be
15               contacting the mayor to ensure you are disciplined and/or have you removed
                 from your position…[discussing first amendment]… No such thing as a free
16               speech zone!!!” Ex. at p. 16.
17           •   “I have reviewed both YouTube videos.. Your librarian does not appear to be
                 trustworthy… Rescind all the trespass presently in effect.” Ex. at p. 17.
18
             •   “To: Tyrant Librarian… If you can’t handle peoples’ Right to Free
19               Speech(which includes being redressed by members of the public)being called
                 a pervert, which you most certainly are….you cant trespass them without
20               them having broken a LAW. Feckless, brainless, immoral trash people, like
                 you, is why this country/this world is falling apart.” Ex. at p. 18 (emph.
21               added).
22           •   “You got busted you fucking CUNT. Typical tyrant employee.” Ex. 5 at p. 20
                 (emph. added).
23
             •   “You are an uneducated lying disgusting piece of shit hopefully you get fired
24               soon… You don’t deserve to serve the community… You should be ashamed
                 of yourself and quit…” Ex. 8 at p. 13 (emph. added).
25
             •   “YOU’RE JUST ANOTHER LYING OVERPAID LOSER!!! GROW UP
26               YOU POS!!!” Ex. 8 at p. 12.




                                                -11-
     Case 3:24-cv-00526-ART-CSD            Document 64      Filed 03/19/25    Page 12 of 19



 1                  •   “You are a fucking CUNT. The library belongs to the people, not you. You
                        NAZI CUNT. Please go home and unalive yourself please, you are a waste
 2                      of space in this Free America.” Ex. 8 at p. 11 (emph. added).

 3          Defendant Bowen and Defendant McKenzie also each received harassing voicemails

 4   in August 2024 following the Board meeting to uphold Ribar’s trespass. Ex. 7 at ¶9; Ex. 9 at

 5   ¶11. The person stated Defendant Bowen was a member of the “fascist Nazis of America,”

 6   that she had no choice, that she owed money, that she had to “pay up,” that they would “put

 7   a lien on [Defendant Bowen’s] property,” that she joined the Nazis “the moment that [she]

 8   started pulling [her] BS with the library,” that she would be on the front page of a newsletter

 9   for pedophiles looking to hire “groomers” “just in case they want to hire [her]… to groom

10   their children,” that they would be sending “randomly sending people in,” that she could

11   move to Russia, North Korea, or Cuba, and that caller assumed she was a “gay American

12   female” and therefore those countries would “put [her] in jail and kill [Defendant Bowen].”

13   Ex. 7 at ¶9. Similarly, to Defendant McKenzie the person invited her to join the “fascist

14   nazis,” because they “like to make [their] karenhood well-known” “from now on,

15   [Defendant McKenzie is] a member of [their] fascist nazi group, [they] will be using

16   [Defendant McKenzie’s] picture, [they will] be doing everything [they can] to let everybody

17   know what a fascist nazi [Defendant McKenzie is],” that their fees are $1,555 and they would

18   put a lien on her property if she refused to pay. Ex. 9 at ¶11.

19           iii.          Impact on County Defendants

20          Mr. Ribar is currently seeking to depose and record Defendants Scott, Bowen, and

21   McKenzie, who have each been targeted by Mr. Ribar and his YouTube channel. Those

22   defendants and others involved with Mr. Ribar’s videos have sustained substantial anguish

23   as a result of Mr. Ribar’s behavior, which demonstrates an actual threat of embarrassment

24   and oppression if Mr. Ribar were permitted to publish compelled discovery material.

25          Defendant Bowen has already experienced substantial emotional harm as a result of

26   Mr. Ribar’s existing YouTube and social media posts. Ex. 7 at ¶7, ¶8. The email threatening




                                                    -12-
     Case 3:24-cv-00526-ART-CSD             Document 64    Filed 03/19/25     Page 13 of 19



 1   to beat and whip her made her fear for her personal safety, while others were immensely

 2   distressing. Id. at ¶8. She had difficulty with her work duties and had to take time off from

 3   work. Id. at ¶7. She had to seek mental health care and take medication to assist her with

 4   sleep. Id. at ¶10; ¶12; ¶14. She was humiliated having to discuss her interactions with Mr.

 5   Ribar and the ensuing harassing contacts with her husband and family. Id. at ¶12. She also

 6   expended personal funds on an “online deletion platform” to mitigate the harassing contacts

 7   from Mr. Ribar’s videos. Id. at ¶13.

 8          Similarly, Defendant McKenzie experienced stress and mental anguish as a result of

 9   Mr. Ribar’s videos and ensuing harassment. Ex. 9 at ¶¶9−17. As Assistant Director, Mr.
10   Ribar’s behavior and the related harassment caused stress and interfered with staff’s regular

11   job duties, including addressing and advising staff on workplace protection and involving

12   Washoe County’s Workplace Violence Committee. Id. at ¶12. Defendant McKenzie

13   expended personal time and money to install and maintain home security cameras, and to

14   remove her personal information from the internet to avoid further attacks. Id. at ¶13. She

15   was humiliated when disclosing the harassment to her family, and was unable to sleep due

16   to the stress and fear it caused. Id. at ¶17. She still experiences substantial distress and

17   hypervigilance when required to be near Mr. Ribar for public meetings. Id. at ¶14. To address

18   her fear of retaliation or being verbally accosted by Mr. Ribar, Defendant McKenzie sits near

19   an exit, and uses security staff to escort her to her vehicle when the meeting concludes. Id.

20          Defendant Bowen and Defendant McKenzie both continue to experience severe

21   stress regarding the professional impacts of Mr. Ribar’s videos and interactions with them.

22   Ex. 7 at ¶11; Ex. 9 at ¶¶10, 15, 16. Mr. Ribar and others inaccurately labeling Defendant

23   Bowen a “pervert” or “groomer” is especially distressing and damaging because her position

24   involves servicing children in the library. Ex. 7 at ¶11. Defendant Bowen and Defendant

25   McKenzie each avoid discussing their line of work with the general public, including

26   unfamiliar neighbors, out of fear of harassment or humiliation in being connected to Mr.




                                                  -13-
     Case 3:24-cv-00526-ART-CSD            Document 64        Filed 03/19/25     Page 14 of 19



 1   Ribar’s videos. Ex. 7 at ¶15; Ex. 9 at ¶16. Defendants Bowen, McKenzie, and Scott were

 2   required to attend the February 2025 Library Board meeting, during which Mr. Ribar

 3   provided public comment where he exclaimed, “FUCK OFF,” stating that “I get to say

 4   whatever words I want… Freedom of Speech.” 7 Ex. 7 at ¶7, ¶8; Ex. 9 at ¶19. He then

 5   addressed the Board and staff in the audience, including Defendant Bowen, Defendant

 6   McKenzie, and Defendant Scott referring to them as “liars,” and that their inclusivity was

 7   “bullshit.” 8 Ex. 9 at ¶19.

 8            Defendant Scott continues to experience a negative work environment as a result of

 9   Mr. Ribar’s videos and his misleading edits and video titles. Ex. 10 at ¶¶3, 4, 5, 6. The titles

10   inappropriately depict Defendant Scott as a bully and as a violent person. Id. at ¶4. The

11   videos mislead viewers, and as a result have disrupted Defendant Scott’s relationships with

12   the community as the Library Director and his relationship with the Library Board of

13   Trustees. Id. at ¶5

14             iv.       Ribar’s Actual Intent to Abuse Discovery in This Case.

15            Mr. Ribar expressly declared that he intends to publish discovery, including

16   deposition video, on social media. Ex. 3; Ex. 4. He seemingly believes he is entitled to

17   continue his scheme of harassment, and of inviting others to harass County Defendants. See

18   id. He appears to be using the instant case to create content for his YouTube channel by

19   displaying this litigation−in his words−in “the court of public opinion.” Ex. 3 at p. 1 (emph.
20   in original). He also appears to acknowledge the “embarrassment” that posting such videos

21   “will bring.” Id.

22            When discussing the instant issue, Mr. Ribar clarified that he “fully intend[s] to record

23   and publicly disseminate the deposition videos of public officials testifying…” Ex. at p. 1. In

24   the final section of a recent email titled “My Intentions and Next Steps,” Mr. Ribar stated,

25

26   7
         https://youtu.be/C-sl1HHoG9I?feature=shared&t=5562
     8
         https://youtu.be/C-sl1HHoG9I?feature=shared&t=9361



                                                     -14-
     Case 3:24-cv-00526-ART-CSD          Document 64      Filed 03/19/25     Page 15 of 19



 1   “I will disseminate these deposition videos publicly, including via YouTube…” Ex. at p. 2

 2   (emph. in original). He expressed that he “will make sure that the full details of this case

 3   are exposed to the public, the media, and most importantly, a jury.” Ex. at p. 2 (emph. in

 4   original).

 5          Mr. Ribar stated that if the County Defendants “truly stand by their actions, they

 6   should have no issue being held accountable in the court of law and the court of public

 7   opinion.” Ex. at p. 1 (emph. in original).

 8            v.       Good Cause Exists for a Protective Order

 9          Here, a protective order is appropriate to address an actual threat of abuse of

10   discovery material, and actual threat of embarrassment, harassment, and oppression. Mr.

11   Ribar’s behavior with YouTube, third party harassment to County Defendants, County

12   Defendants’ mental impacts, and Mr. Ribar’s expressed intent are specific facts that show a

13   particular need for protection. See Liu, 2023 WL 5304490, at *5.

14          The instant case presents a severe need for court intervention. In Liu, a similar

15   protective order was warranted based on plaintiff posting edited footage of the underlying

16   incident. Plaintiff was “using the instant lawsuit as content for his channel,” and plaintiff

17   intended to post deposition video after the lawsuit concluded. 2023 WL 5304490, at *6. Here,

18   like in Liu, Mr. Ribar has already posted numerous videos regarding the underlying

19   incidences and several occasions where he uses the instant case for content on YouTube. Ex.

20   6 at pp. 3−17, 21−27. Even more alarming than the facts in Liu is that Mr. Ribar publicly
21   posted County Defendants’ contact information which invited doxing and reacting

22   harassment. Ex. 5; Ex. 8. Moreover, Mr. Ribar directly expressed his intent to “disseminate

23   these deposition videos publicly, including via Youtube…” Ex. 4 at pp. 1−2.
24          Additionally, like in Serv. Emps. Int’l Union, 2009 WL 2581320, at *1, a protective

25   order would be appropriate because Mr. Ribar intends to use compelled discovery to try this

26   case in “the court of public opinion.” Ex. 3 at p. 1. This fact alone demonstrates good cause




                                                  -15-
     Case 3:24-cv-00526-ART-CSD           Document 64       Filed 03/19/25      Page 16 of 19



 1   and demonstrates that Mr. Ribar is litigating this case for improper purposes, including to

 2   harass, humiliate, and attract viewers to his YouTube channel.

 3            As set forth above, County Defendants’ substantiated concerns warrant a protective

 4   order in this case. Mr. Ribar’s YouTube activity is designed to humiliate the County

 5   Defendants and increase Mr. Ribar’s commercial gain. See Ex. 6. A protection order is

 6   necessary to avoid misuse of this Court, and to protect the County Defendants from

 7   annoyance, embarrassment, and oppression.

 8            C.     A PROTECTION ORDER SHOULD INDEFINITELY                        PROHIBIT     ANY
                     DISSEMINATION OF COMPELLED DISCOVERY.
 9

10            The Court has “broad discretion… to decide when a protective order is appropriate

11   and what degree of protection is required.” Seattle Times, 467 U.S. at 32. “The unique

12   character of the discovery process requires that the trial court have substantial latitude to

13   fashion protective orders.” Id.

14            Here, a protective order preventing Mr. Ribar from disseminating any compelled

15   discovery for any purpose other than litigating this case, including video of depositions and

16   interrogatory responses, is appropriate. The order should prohibit any such sharing, posting,

17   copying, and/or publication, unless it is strictly for the purposes of litigating this case—e.g.,

18   presented to this Court to determine an issue before it, or presented to a witness during a

19   deposition. The protection order should be indefinite so as to address the actual threat

20   presented here of abusing discovery materials and inviting reactive harassment onto the

21   County Defendants.

22      IV.        COUNTY DEFENDANTS SHOULD RECEIVE ATTORNEY FEES.

23            Under Rules 26(c)(3) and 37(a)(5), if the instant motion is granted, the Court may

24   order the nonmoving party to pay the moving parties’ attorney fees. If it is granted in part,

25   the Court may apportion reasonable expenses, including attorney fees incurred for the

26   motion. FRCP 26(c)(3); FRCP 37(a)(5).




                                                   -16-
     Case 3:24-cv-00526-ART-CSD            Document 64     Filed 03/19/25     Page 17 of 19



 1           Here, County Defendants seek an award of their attorney fees incurred in having to

 2   file the instant motion. The need for a protective order exists only as a result of Mr. Ribar’s

 3   conduct. Moreover, when presented with the applicable rule and examples of reactive

 4   harassment his videos have caused, Mr. Ribar still refused to consider any form of a

 5   protective order. Ex. 3; Ex. 4. Mr. Ribar’s position is not justified and instead demonstrates

 6   bad faith in attempting to obtain discovery to use as YouTube content and try this case in

 7   the “court of public opinion.” See Ex. 3. This Court should award County Defendants their

 8   reasonable attorneys’ fees in an amount to be determined in subsequent briefing based on the

 9   Brunzell factors on subsequent order of this Court.

10      V.      CONCLUSION

11      The Court should issue a protective order in this case indefinitely prohibiting Mr. Ribar

12   from disseminating any compelled discovery for any purpose other than litigating the instant

13   case. Mr. Ribar has misused the instant litigation, and will abuse discovery materials by

14   posting them to social media. Mr. Ribar’s social media activity has already caused significant

15   embarrassment, harassment, and oppression, and therefore an actual threat exists that the

16   mental anguish will continue unless a protective order is entered. Additionally, the Court

17   should prohibit recording meet and confer conversations or any other conversations with

18   counsel. The Court should also award County Defendants their attorneys’ fees incurred in

19   having to bring the instant motion.

20           Dated this 19th day of March, 2025.

21

22                                               By      /s/ Lindsay L. Liddell
                                                      LINDSAY L. LIDDELL
23                                                    Deputy District Attorney
                                                      ANDREW COBI BURNETT
24                                                    Deputy District Attorney

25                                                    ATTORNEYS FOR WASHOE COUNTY
                                                      DEFENDANTS
26




                                                   -17-
     Case 3:24-cv-00526-ART-CSD          Document 64        Filed 03/19/25     Page 18 of 19



 1                                  CERTIFICATE OF SERVICE

 2          Pursuant to FRCP 5, I certify that I am an employee of the Office of the District

 3   Attorney of Washoe County, over the age of 21 years and not a party to nor interested in the

 4   within action. I certify that on this date, I deposited for mailing in the U.S. Mails, with

 5   postage fully prepaid, a true and correct copy of the foregoing document in an envelope

 6   addressed to the following:

 7   DREW RIBAR
     3480 PERSHING LANE
 8   WASHOE VALLEY. NV 89704
 9          I certify that on this date, the foregoing was electronically filed with the United
10   States District Court. Electronic service of the foregoing document shall be made in
11   accordance with the Master Service List as follows:
12   DREW RIBAR
13   ALISON R. KERTIS, ESQ.
14          Dated this 19th day of March, 2025.
15                                                        /s/ S. Haldeman
                                                          S. Haldeman
16

17

18

19

20

21

22

23

24

25

26




                                                   -18-
     Case 3:24-cv-00526-ART-CSD     Document 64      Filed 03/19/25   Page 19 of 19



 1                                   EXHIBIT INDEX

 2   EXHIBIT 1        Declaration of DDA Liddell                                  1 page

 3   EXHIBIT 2        Email Re: Meet and Confer from DDA Liddell            3 pages
                      Dated March 11, 2025
 4

 5   EXHIBIT 3        Email Re: Meet and Confer from Mr. Ribar              6 pages
                      Dated March 12, 2025
 6

 7   EXHIBIT 4        Email from Mr. Ribar, dated March 13, 2025            11 pages

 8   EXHIBIT 5        Harassment emails sent to Ms. Bowen                   25 pages

 9   EXHIBIT 6        Auditing Reno 911 YouTube screenshots                 27 pages

10   EXHIBIT 7        Declaration of Jonnica Bowen                          5 pages

11   EXHIBIT 8        Harassment emails sent to Ms. McKenzie                14 pages

12   EXHIBIT 9        Declaration of Stacy McKenzie                         7 pages

13   EXHIBIT 10       Declaration of Jeff Scott                             3 pages
14

15

16

17

18

19

20

21

22

23

24

25

26                                   EXHIBIT INDEX




                                             -19-
